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                           IN THE UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF LOUISIANA


  The State of Missouri, et al.,

         Plaintiffs,

                 v.
                                                            Civil Action No. 22-cv-1213
  President Joseph R. Biden, Jr., in his official
  capacity as President of the United States of
  America, et al.,

         Defendants.


               MOTION TO WITHDRAW AS COUNSEL FOR DEFENDANTS

        In accordance with Local Rule 83.2.11, the undersigned counsel, Kyla M. Snow,

 respectfully moves to withdraw her appearance as counsel for Defendants, as her last day of

 employment with the U.S. Department of Justice will be January 24, 2025. Defendants will

 continue to be represented by the remaining counsel of record.


 Dated: January 17, 2025                        Respectfully submitted,

                                                BRIAN M. BOYNTON
                                                Principal Deputy Assistant Attorney General

                                                JOSHUA E. GARDNER
                                                Special Counsel, Federal Programs Branch

                                                JOSEPH E. BORSON
                                                Assistant Director, Federal Programs Branch

                                                /s/ Kyla M. Snow
                                                KYLA M. SNOW (Ohio Bar No. 96662)
                                                ALEXANDER W. RESAR (N.Y. Bar No.
                                                5636337)
                                                Trial Attorneys
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                                                Senior Counsel


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